            Case 1:21-cr-00570-APM Document 32 Filed 04/29/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :    CRIMINAL NO. 1:21-cr-00570-APM
                       v.                        :
                                                 :
 LANDON KENNETH COPELAND,                        :
                                                 :
                            Defendant.           :



                               JOINT MOTION TO CONTINUE

       The United States of America, by and through its undersigned counsel, and joined with the

defendant, request that the status conference currently scheduled for May 2, 2022, be continued

for approximately two weeks days, and time be excluded under the Speedy Trial Act, 18 U.S.C.

§ 3161. In support of this request, the parties submit as follows:

       1.       Since the last status hearing, the parties have had several discussions regarding the

evidence in the case and the potential for a pretrial resolution. On Wednesday night, April 29,

2022, defense counsel notified the government of the defendant’s intent to accept a guilty plea.

       2.       Given the close proximity of the upcoming status hearing, it will not be possible to

finalize plea paperwork, and to present that paperwork to the court, before the hearing.

       3.       The parties request a further continuance in this matter, of approximately two

weeks, and that the next hearing be scheduled for a Rule 11 hearing.

       4.       The parties also request that time be excluded from calculation, pursuant to the

Speedy Trial Act, 18 U.S.C. § 3161, until the date of the continued status conference in this matter.

The parties submit that a continuance is warranted and that an order excluding time would best

serve the interests and ends of justice and outweigh the interests of the public and defendant in a

speedy trial pursuant to the factors described in 18 U.S.C. §3161(h)(7)(A), (B)(i), (ii), and (iv).
         Case 1:21-cr-00570-APM Document 32 Filed 04/29/22 Page 2 of 2




       WHEREFORE, the parties request that this Court continue the Status Conference currently

scheduled for May 2, 2022, be vacated and that a Rule 11 hearing be scheduled approximately two

weeks thereafter. The parties further request that the Court and toll time under the Speedy Trial

Act until the new hearing date.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052


                                     By:    /s/ Michael J. Romano
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